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  SEAN D. REYES (USB #7969)                                D. DAVID DEWALD
  Utah Attorney General                                    Deputy Attorney General
  STANFORD E. PURSER (USB #13440)                          Office of the Attorney General of Wyoming
  Utah Solicitor General                                   109 State Capitol
  KATHY A.F. DAVIS (USB #4022)                             Cheyenne, WY 82002
  JASON DEFOREST (USB #14628)                              (307) 777-7895
  K. TESS DAVIS (USB #15831)                               david.dewald@wyo.gov
  Assistant Attorneys General                              Attorney for Plaintiff State of Wyoming
  1594 West North Temple
  Suite 300, Salt Lake City, UT 84114                      DANIEL SHAPIRO*
  (801) 538-9600                                           KATHLEEN S. LANE*
  spurser@agutah.gov                                       CONSOVOY MCCARTHY PLLC
  kathydavis@agutah.gov                                    1600 Wilson Blvd., Suite 700
  jdeforest@agutah.gov                                     Arlington, VA 22209
  kaitlindavis@agutah.gov                                  (703) 243-9423
  Attorneys for Plaintiff State of Utah                    daniel@consovoymccarthy.com
                                                           katie@consovoymccarthy.com
  TYLER R. GREEN (USB #10660)                              Attorneys for Plaintiff State of Utah
  CONSOVOY MCCARTHY PLLC
  222 S. Main Street, 5th Floor                            *Application for admission pro hac vice
  Salt Lake City, UT 84101                                 forthcoming
  (703) 243-9423
  tyler@consovoymccarthy.com
  Attorney for Plaintiff State of Utah


                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION



  STATE OF UTAH,
  STATE OF WYOMING,
                                         Plaintiffs,         Memorandum in Opposition to SUWA
         v.                                                     Groups’ Motion to Intervene

  DEB HAALAND, in her official capacity as                        Case No. 2:24-cv-00438
  the Secretary of the U.S. Department of the
  Interior; U.S. DEPARTMENT OF THE                                Judge David Barlow
  INTERIOR; TRACY STONE-MANNING, in
  her official capacity as the Director of the
  Bureau of Land Management; and U.S.
  BUREAU OF LAND MANAGEMENT,

                                     Defendants.




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        Plaintiffs State of Utah and State of Wyoming (“Plaintiff States”) hereby respectfully

 submit their Memorandum in Opposition to the Proposed Defendant-Intervenors Southern Utah

 Wilderness Alliance, Conservation Lands Foundation, and The Wilderness Society’s (collectively

 “SUWA”) Motion to Intervene. SUWA’s arguments for intervention fundamentally misconstrue

 the substance of Plaintiff States’ challenge and requested relief. This is a narrowly tailored

 challenge to the Bureau of Land Management’s (“BLM”) failure to conduct the requisite

 environmental review under the National Environmental Policy Act (“NEPA”) for the BLM’s

 Conservation and Landscape Health Rule (“Rule”). It is therefore a procedural challenge to an

 obligation that belongs solely to the BLM. More importantly, the BLM will fully represent SUWA’s

 interests in this matter. The Motion to Intervene should be denied.

                                         INTRODUCTION

        Plaintiff States have made it abundantly clear that this is a procedural claim under NEPA.

 Complaint, Dkt. 1, ¶¶ 103-155. The BLM failed to account for Plaintiff States’ significant

 environmental interests when it evaluated the Rule and therefore failed to take the hard look

 required under NEPA. See generally, Complaint, Dkt. 1. Indeed, SUWA’s argument begins with

 an outright recognition that Plaintiff States are challenging the Rule based on these NEPA

 arguments. See Memorandum in Support of Motion to Intervene, Dkt. 28, p. 1. Despite this

 recognition, SUWA then engages in speculation as to how implementation of the Rule will affect

 their interests and/or how overturning the Rule would “eliminat[e] tools they intend to use to

 achieve protection and restoration of public lands.” Id. at p. 5.

        To be clear, Plaintiff States are prepared to challenge the legality of the Rule, post

 implementation, because it exceeds the authority granted to the BLM under the Federal Land

 Policy and Management Act (“FLPMA”). In the meantime, however, Plaintiff States are




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 challenging the Rule because BLM failed to comply with NEPA, a procedural challenge which is

 fundamentally different from a broader challenge to the Rule’s legality under FLPMA. SUWA’s

 asserted interests are nevertheless directed entirely to how implementation of the Rule will

 allegedly affect SUWA’s “conservation efforts.” See Memorandum in Support of Motion to

 Intervene, Dkt. 28, p. 3. This has no effect on Plaintiff States’ argument that the Rule must be

 subject to proper NEPA analysis. Additionally, undertaking a NEPA analysis does not, in and of

 itself, substantively alter the Rule. Instead, a NEPA analysis merely ensures that BLM has taken a

 hard look at the environmental effect of this significant governmental action. See, e.g., Robertson

 v. Methow Valley Citizens Council, 490 U.S. 332, 333 (1989) (finding “it is well settled that NEPA

 itself does not impose substantive duties mandating particular results, but simply prescribes the

 necessary process for preventing uninformed – rather than unwise – agency action”). SUWA’s

 suggestion that the Rule will “provide a consistent framework” for achieving its conservation goals

 only highlights the need for further NEPA review.

        Stated simply, this is a binary argument, capable of resolution without impairing SUWA’s

 interests. Plaintiff States allege that the BLM failed to conduct the necessary review under NEPA.

 If the Court agrees with Plaintiff States, further NEPA review must be conducted. There is no

 indication, absent rank speculation, as to how that process would substantively affect the Rule, if

 at all. On the other hand, if the Court agrees with the Federal Defendants, no further NEPA review

 is required, and implementation of the Rule will continue unimpeded. Either way, the interest of

 SUWA and the Federal Defendants are identical – defend the Federal Defendants’ finding that

 NEPA analysis was not required and therefore avoid additional environmental review. The Federal

 Defendants are perfectly capable, and have already demonstrated their intent, to fully litigate those

 interests. The Motion to Intervene should be denied.




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                                            ARGUMENT

        SUWA’s Motion should be denied because their interests will not be impaired by the relief

 requested and, in any event, the Federal Defendants will adequately represent SUWA’s interests.

        I.      SUWA IS NOT ENTITLED TO RULE 24 INTERVENTION.

                A. SUWA is not entitled to intervene as of right.

        Under Rule 24, a proposed intervenor-as-of-right must establish (1) an “interest relating to

 the property or transaction that is the subject of the action” (2) that may be “impair[ed]” by the

 action, and (3) that is not “adequately represent[ed] by existing parties.” Fed. R. Civ. P. 24(a)(2);

 Tri-State Generation & Transmission Ass’n, Inc. v. N.M. PRC, 787 F.3d 1068, 1071 (10th Cir.

 2015). “The inquiry required under Rule 24(a)(2) is a flexible one, and a practical analysis of the

 facts and circumstances of each case is appropriate.” San Juan Cty. v. United States, 503 F.3d 1163,

 1206 (10th Cir. 2007). SUWA does not satisfy either the impairment requirement or the inadequate

 representation requirement.

                        a. SUWA’s interests will not be impaired by this litigation.

        “A protectable interest is one that would be impeded by the disposition of the action.” W.

 Energy All. v. Zinke, 877 F.3d 1157, 1165 (10th Cir. 2017) (“Zinke”) (internal citations omitted).

 In other words, “the question of impairment is not separate from the question of existence of an

 interest.” Utah Ass'n of Cntys. v. Clinton, 255 F.3d 1246, 1253 (10th Cir. 2001) (“UAC”). A would-

 be intervenor cannot establish an interest in the litigation merely by offering additional, irrelevant

 evidence to support a challenged governmental action. See Alameda Water & Sanitation Dist. v.

 Browner, 9 F.3d 88, 91 (10th Cir. 1993) (finding “the opportunity to offer extraneous evidence

 beyond the administrative record, and thus beyond the scope of the narrow issue before the district

 court, is not an interest protectable in [litigation involving a challenge to the legality of the EPA’s




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 permitting veto].”). Instead, a would-be intervenor bears the “minimal” burden of showing that

 “impairment of its interest is possible if intervention is denied.” UAC, 255 F.3d at 1253.

        SUWA’s asserted interests in support of intervention relate entirely to their advocacy for

 conservation on public lands in the western United States. See Memorandum in Support of Motion

 to Intervene, pp. 3-4, Dkt. 28. Additionally, the alleged “impairment” of those interests turns on

 the value SUWA assigns to the implementation of the Rule. Id. at pp. 4-6. Those implementation-

 level concerns are irrelevant and not at issue here. The Federal Defendants relied on a categorical

 exclusion when denying further NEPA review, arguing the Rule is administrative in nature and

 does not, in and of itself, cause any environmental effects. 89 Fed. Reg. 40308, at 40333 (invoking

 a categorial exclusion in 43 C.F.R §46.210(i) and claiming the rule “sets out a framework but is

 not self-executing in that it does not itself make substantive changes on the ground”). Plaintiff

 States are challenging that specific finding, arguing further NEPA review is required. SUWA is

 seeking to intervene in support of the Federal Defendants’ position, suggesting that enjoining the

 Rule would have immediate effects on their environmental interests. See Memorandum in Support

 of Motion to Intervene, p. 6, Dkt. 28. This presents an internal inconsistency in SUWA’s argument,

 as the supposed environmental effects identified by SUWA should be evaluated through the NEPA

 process. Indeed, SUWA’s position underscores the need for the additional environmental review

 requested by Plaintiff States.

        Regardless, however, a ruling in Plaintiff States’ favor does not necessarily eliminate the

 “conservation tools” SUWA associates with the Rule. Plaintiff States seek to enjoin the Rule and

 require the BLM to fully consider its environmental effects. If the Rule only provides

 environmental benefits, as SUWA suggests, further NEPA review would not result in the

 substantive changes outlined in SUWA’s briefing. More importantly, as discussed more fully




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 below, defending against Plaintiff States’ position requires precisely the same argument – BLM’s

 NEPA analysis was adequate, and no further review is necessary. This is an obligation, and

 argument, that belongs solely to the Federal Defendants and SUWA does not have an independent

 interest in the resolution of that procedural claim.

                        b. The Federal Defendants adequately represent SUWA’s interests.

        “Even if an applicant satisfies the other requirements of Rule 24(a)(2), it is not entitled to

 intervene if its interest is adequately represented by existing parties.” Kane County, Utah v. U.S.,

 597 F.3d 1129 (10th Cir. 2010). “The most common situation in which courts find representation

 adequate arises when the objective of the applicant for intervention is identical to that of one of

 the parties.” Bottoms v. Dresser Indus., Inc., 797 F.2d 869, 872 (10th Cir. 1986) (emphasis added).

 Even when the party is the government, a proposed intervenor is adequately represented when its

 interests “flow from [their] objective of preserving [the government’s action]” and the government

 has the “identical litigation objective” of preserving that action. Tri-State Generation, 787 F.3d at

 1072-74.

        Courts adopt a “presumption that representation is adequate when the objective of the

 [proposed intervenor] is identical to that of [the United States].” San Juan Cnty., Utah v. United

 States, 503 F.3d 1163, 1204 (10th Cir. 2007) (plurality opinion) (cleaned up). A proposed

 intervenor does “not overcome” that presumption even when its “ultimate motivation in th[e] suit

 may differ” and even when the United States must balance “additional interests stemming from its

 unique status as a lawyer for the entire federal government.” Id. at 1204. “At bottom, the pertinent

 inquiry is not whether [the parties] are pursuing the same relief . . . but instead is whether they

 have identical interests in pursuing that relief.” Kane County, Utah v. United States, 94 F.4th 1017,

 1032 (10th Cir. 2024). Here, SUWA and the Federal Defendants have identical interests in




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 defending against Plaintiff States – preserving the Rule, as drafted, without engaging in NEPA

 analysis. The substantive information offered by SUWA is irrelevant to that determination.

        Case law demonstrates how a proposed intervenor can overcome the presumption that the

 government will adequately represent its interests, none of which are present here: (1) showing

 that the government is bound by “conflicting statutory obligations,” San Juan Cty., 503 F.3d at

 1207 (plurality op.); (2) providing record-based “reason to think that the [government] will not

 vigorously argue in favor of its statutory authority,” such as the government’s demonstrated

 “reluctance” to defend its own authority, Tri-State Generation, 787 F.3d at 1074; or (3) pointing to

 a change in administrations along with the government’s on-the record equivocation about whether

 it would adequately represent the proposed intervenors’ interests, Kane Cty., Utah v. United States,

 928 F.3d 877, 895 (10th Cir. 2019); UAC, 255 F.3d at 1256. Those circumstances do not apply.

        First, SUWA cites UAC and Zinke for authority to suggest that the United States has varied

 interests that are contrary to interests asserted by SUWA. However, those cases are distinguishable

 and do not support intervention in this instance. Contrary to both UAC and Zinke, Plaintiff States

 are seeking a binary, procedural determination – the BLM failed to conduct the necessary

 environmental review required by NEPA. See generally, Complaint, Dkt. 1. The UAC decision

 was based on a conflict in the Federal Government’s representation of the public interest generally

 versus the interest of a particular member of the public. UAC, 255 F.3d at 1255-56. Here, the

 Federal Defendants are not defending the public’s interest in the substance of the Rule – they are

 defending the adequacy of their NEPA determination, a procedural obligation belonging solely to

 the Federal Defendants. The conflict identified in UAC therefore does not exist here.

        The Zinke case fares no better. Zinke dealt with potential changes to the BLM’s Leasing

 Reform Policy under executive orders from a new presidential administration. Zinke, 877 F.3d at




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 1169. The existence of those executive orders raised the possibility of diverging interests between

 the Federal government and the general public. Zinke, 877 F.3d at 1169. There is no potential

 divergence of interest here because the Federal Defendants have already demonstrated their intent

 to advocate for the adequacy of their NEPA review. See Memorandum in Opposition to Motion for

 Preliminary Injunction, Dkt. 40. Moreover, even assuming a new administration came into power

 during the instant litigation, such a shift would require a change in NEPA policy and conflicting

 findings regarding the adequacy (or inadequacy) of the BLM’s existing NEPA obligations. Zinke

 is therefore distinguishable.

        SUWA attempts to muddy that argument, suggesting their interests are not aligned with the

 Federal Defendants because they are focused on the Western United States, “often find themselves

 at odds with the BLM” regarding conservation, and requested the inclusion of additional

 conservation measures in the Rule. See Memorandum in Support of Motion to Intervene, p. 6.

 Even if SUWA’s suggestions were true, those are not the “interests” at stake in this litigation.

 Plaintiff States are asking for a full and fair evaluation of the environmental effects associated with

 the Rule. See generally, Complaint, Dkt. 1. Modifying the substance of the Rule is simply not at

 issue at this phase of the litigation and the Federal Defendants have already demonstrated their

 intent to argue that the Rule did not require further NEPA analysis. See Memorandum in Opposition

 to Plaintiffs’ Motion for Preliminary Injunction, Dkt. 40. Although muddied by its assertions of

 speculative interests, SUWA is seeking the same relief – uphold BLM’s findings with respect to

 NEPA. The Federal Defendants have proven themselves capable of fully litigating that issue and

 adequately representing SUWA’s interest in that regard.

        Finally, the Federal Defendants’ position regarding the adequacy of BLM’s NEPA analysis

 is not subject to change during litigation, as SUWA suggests. The BLM based its NEPA analysis




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 on a finding that the Rule is administrative in nature and will not have any effect on the BLM’s

 management until implementation. 89 Fed. Reg. 40308, at 40333. As discussed above, changing

 position would therefore require both a change in policy as it relates to NEPA review and

 conflicting findings regarding the adequacy (or inadequacy in this case) of BLM’s NEPA

 obligations. Stated differently, following SUWA’s argument to its logical conclusion would require

 the BLM to reverse position in this matter and outright concede that it failed to conduct proper

 NEPA analysis – a position that would be impossible to justify even in the event of a new

 administration and a new policy regarding NEPA review.

        Further, the case law cited by SUWA in support of its argument for “shifting positions” is

 easily distinguished. First, the UAC Plaintiffs filed suit to invalidate a presidential proclamation to

 establish a national monument, which is entirely distinct from a procedural NEPA challenge. UAC,

 255 F.3d at 1248. The designation and/or invalidation of monuments has significant potential for

 change across administrations. Indeed, such designations have routinely been altered by incoming

 administrations, with significant effect on management. See generally National Monuments and

 the Antiquities Act, CONGRESSIONAL RESEARCH SERVICE (Updated May 10, 2024), available at

 https://sgp.fas.org/crs/misc/R41330.pdf (discussing the history and controversy associated with

 monument designations). It is therefore plausible, if not expected, that a designation could be

 affected by a new presidential administration. Here, changing positions would require an outright

 reversal of the BLM’s NEPA claims, an improbable, if not impossible position to justify. Moreover,

 the Federal Defendants are required to consider, and balance, multiple public interests in the

 designation of national monuments – whereas they are not required to consider the same interests

 in a purely procedural NEPA review.




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        The Kleissler case cited in UAC is similarly distinguishable. Kleissler v. U.S. Forest Serv.,

 157 F.3d 964, 974 (3d Cir. 1998). Plaintiffs in Kleissler were seeking an outright ban on logging

 allowed in the National Forest until further NEPA was conducted. Id. at 967. Several entities

 moved to intervene based on their continued interest in receiving funds from the challenged

 logging operations. Id. at 968. The Third Circuit found those interests were sufficient to support

 intervention because Plaintiffs’ requested relief would have an immediate economic effect on the

 intervenors. Id. at 972. Here, Plaintiff States are seeking further procedural review of the Rule to

 ensure their environmental interests are fully considered – they are not seeking to ban or prevent

 SUWA from conducting conservation work, particularly as that work existed before the Rule.

 Stated differently, whereas the Kleissler plaintiffs were seeking intervention in a case where their

 financial interests were directly affected by a ban on logging, SUWA is seeking intervention in a

 case where its supposed interests will not be affected unless and until there is a substantive change

 to the Rule. Again, this is a procedural challenge, and the Federal Defendants will adequately

 represent any interest asserted by SUWA.

                B. SUWA is not entitled to permissive intervention.

        Courts have discretion to allow intervention if the prospective intervenor “has a claim or

 defense that shares with the main action a common question of law or fact” and the intervention

 will not “unduly delay or prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P.

 24(b). However, courts may also deny intervention when “the intervenors’ interests are adequately

 represented by other parties.” Tri-State Generation, 787 F.3d at 1076.

        SUWA has not requested permissive intervention, limiting its argument to intervention as

 of right. However, as discussed above, SUWA and the Federal Defendants have identical interests

 – both seek to affirm the adequacy of the Federal Defendants’ NEPA review. The substantive




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 concerns articulated by SUWA, while potentially different from those of the Federal Defendants,

 are simply not part of this action. Denial of permissive intervention is appropriate. Moreover,

 adding SUWA will unnecessarily complicate a straightforward legal argument – did the Federal

 Defendants conduct an adequate NEPA analysis? This is an obligation that belongs to the Federal

 Defendants, and they are perfectly capable of arguing this matter to the Court. There is simply no

 need to complicate the argument with the irrelevant substantive concerns articulated by SUWA.

                                          CONCLUSION

        Considering the above, Plaintiff States respectfully request the Court deny SUWA’s

 Motion to Intervene.

  Dated: August 8, 2024                            Respectfully submitted,

                                                   /s/ Jason DeForest
  TYLER R. GREEN (USB #10660)                      SEAN D. REYES (USB #7969)
  CONSOVOY MCCARTHY PLLC                           Utah Attorney General
  222 S. Main Street, 5th Floor                    STANFORD E. PURSER (USB #13440)
  Salt Lake City, UT 84101                         Utah Solicitor General
  (703) 243-9423                                   KATHY A.F. DAVIS (USB #4022)
  tyler@consovoymccarthy.com                       JASON DEFOREST (USB #14628)
  Attorney for Plaintiff State of Utah             K. TESS DAVIS (USB #15831)
                                                   Assistant Attorneys General
  DANIEL SHAPIRO*                                  1594 West North Temple
  KATHLEEN S. LANE*                                Suite 300, Salt Lake City, UT 84114
  CONSOVOY MCCARTHY PLLC                           (801) 538-9600
  1600 Wilson Blvd., Suite 700                     spurser@agutah.gov
  Arlington, VA 22209                              kathydavis@agutah.gov
  (703) 243-9423                                   jdeforest@agutah.gov
  daniel@consovoymccarthy.com                      kaitlindavis@agutah.gov
  katie@consovoymccarthy.com                       Attorneys for Plaintiff State of Utah
  Attorneys for Plaintiff State of Utah
                                                   D. DAVID DEWALD
                                                   Deputy Attorney General
  *Application for admission pro hac vice          Office of the Attorney General of Wyoming
  forthcoming                                      109 State Capitol
                                                   Cheyenne, WY 82002
                                                   (307) 777-7895
                                                   david.dewald@wyo.gov
                                                   Attorney for Plaintiff State of Wyoming



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